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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA


 Angela Grady et al.,                                       Civil No. 20-cv-1532 (ADM/TNL)

                        Plaintiffs,

 v.                                                                ORDER

 Hennepin County CPS, et al.,

                        Defendants.



       Based upon the Report and Recommendation by United States Magistrate Judge Tony N.

Leung dated October 19, 2020 (ECF No. 7), along with all the files and records, and no

objections to said Recommendation having been filed, IT IS HEREBY ORDERED that:

       1. The Application to Proceed In Forma Pauperis [Doc. 2] is denied as moot; and

       2. This action is DISMISSED WITHOUT PREJUDICE.

       LET JUDGMENT BE ENTERED ACCORDINGLY.


Date: November 5, 2020                             s/Ann D. Montgomery
                                                   The Honorable Ann D. Montgomery
                                                   United States District Judge
